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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          Case No. 4:05CR3034
                                            )
                                            )
                                            )
                    Plaintiff,              )
                                            )
             vs                             )          MEMORANDUM
                                            )           AND ORDER
ALEJANDRO ROQUE RAMIREZ,                    )
a/k/a ESAUL MIRANDA,                        )
                                            )
                                            )
                                            )
                    Defendant.              )

       The defendant, found in a car with a whole bunch of dope, wants to offer the
testimony of a well-credentialed sociologist that “it is not unusual for immigrants,
especially Hispanic immigrants, to arrange for transportation to travel across the
country to try to find work or to visit friends by making arrangements with persons
that they have just met.” (Filing 42 ¶ 3 (Affidavit of Rebecca Smith, counsel for the
defendant).) The defendant seeks a pretrial determination that I will allow such
testimony. While I will provide the defendant with a pretrial ruling, it will not please
him.

        In short, and assuming (without deciding) that the testimony is admissible under
Daubert principles and otherwise, the probative value of this very general testimony
is nil. Moreover, because the testimony amounts to little more than a recitation of
ethnic or cultural stereotypes, it has the real potential to prejudice, mislead or confuse
the jury. Still further, this testimony screams an invitation to the government to
pursue similar but far more unflattering ethnic or cultural stereotypes when cross-
examining the expert. All in all, I should and I will exercise my discretion to preclude
this testimony should it be offered at trial. See, e.g., United States v. Bahena-
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Cardenas, 411 F.3d 1067, 1078-79 (9th Cir. 2005) (expert offered to testify about
Mexican transborder culture and the propensity to give false information on official
documents; affirming the decision to preclude such testimony and stating that
refusing to allow expert testimony that would encourage or require jurors to rely on
cultural stereotypes is not an abuse of discretion); United States v. Verduzco, 373 F.3d
1022, 1034 (9th Cir. 2004) (holding that it was not an abuse of discretion to exclude
expert witness testimony regarding drug cultures); Jinro America Inc. v. Secure
Investments, Inc., 266 F.3d 993, 1007 (9th Cir. 2001) (“Allowing an expert witness in
a civil action to generalize that most Korean businesses are corrupt, are not to be
trusted and will engage in complicated business transactions to evade Korean currency
laws is tantamount to ethnic or cultural stereotyping, inviting the jury to assume the
Korean litigant fits the stereotype.”); United States v. Rubio-Villareal, 927 F.2d 1495,
1502 n. 6 (9th Cir. 1991) (holding that it was not an abuse of discretion to reject
testimony that “would have shown that [defendant's] failure to register his truck is a
common phenomenon in Mexico”), cited section unchanged on review en banc, 967
F.2d 294, 295 (9th Cir. 1992).

       IT IS ORDERED that the motion to determine admissibility of expert testimony
(filing 42) is granted to the limited extent that the court will make a pretrial ruling, but
the motion is otherwise denied. I will exercise my discretion to preclude the
testimony on stereotypes should it be offered at trial.

       August 19, 2005.                           BY THE COURT:

                                                  Richard G. Kopf
                                                  United States District Judge




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